                                   UNITED STATES DISTRICT COURT

                                   EASTERN DISTRICT OF LOUISIANA

    DONNA LOU, ET AL.                               *       CIVIL ACTION NO. 21-80

    VERSUS                                          *       SECTION “D” (2)

    SHERIFF JOSEPH P, LOPINTO,                      *       Judge Wendy B. Vitter
    III, ET AL.                                             Magistrate Judge Donna P. Currault

                     Plaintiffs’ Response to Westgate’s Statement of Material Facts

#               Plaintiffs’ Material Facts                                   Westgate’s Response
    Chad Pitfield weighed about 308 pounds when he
    restrained E.P.1


    Chad Pitfield placed E.P. in the prone position.


    Chad Pitfield’s placement of E.P. in the prone
    position was a contributing cause of E.P.’s death.2


    While on shift hours, Pitfield was “working during
    those hours for Westgate.”3


    Westgate had the power to discharge Pitfield from
    working for Westgate.4

    Westgate paid Pitfield by writing checks directly
    to him.5

#       Westgate’s Material Facts (R. Doc. 138-1)                            Plaintiffs’ Response
1   Plaintiffs Donna Lou and Daren Parsa filed their         Undisputed.
    Complaint on January 14, 2021, in which they
    allege that their 16-year-old child, E.P., who was
    severely autistic, died while in the custody and care

    1
      Ex. B (Pitfield Dep.) at 176:4.
    2
      Ex. C (Coroner’s Report) at 2.
    3
      Ex. B at 99:11-12.
    4
      Ex. B at 100:6-8 (“Q If Westgate had wanted someone other than Chad Pitfield, could they have told that
    to the special detail scheduler? A Absolutely. Q And they would have gotten someone other than Chad
    Pitfield? A Sure.”)
    5
      Ex. B at 38:4-8 (“Q So you would receive a check periodically from Westgate directly to you for whatever
    number of hours times your hourly rate? A Correct”).

                                                        1
    of Jefferson Parish Sheriff’s Office (JPSO)
    deputies while in the parking lot of the Westgate
    Shopping Center.


2   According to Plaintiffs, Moving Defendants “hired,            Undisputed.
    authorized and/or provided security officers for its
    tenants, customers and visitors,” and that DPSO
    Deputy Chad Pitfield (“Defendant Pitfield”) was a
    member of the security team.


3   Plaintiffs allege that Defendant Pitfield was a JPSO          Undisputed that Plaintiffs allege that Pitfield was a
    Reserve Deputy who was assigned to the crime                  JPSO Reserve Deputy working a private detail on
    scene for JPSO and who was working “off-duty” /               Moving Defendants’ property at the time of the
    “public assignment” on Moving Defendants’                     incident.
    property at the time of the incident.


4   In the “Causes of Action” section of their                    Undisputed that that is the one count against
    Complaint, Plaintiffs bring one count against                 Moving Defendants.
    Moving Defendants: “Violation of Louisiana
    Constitution and State Law,” under which the only
    allegation involving Moving Defendants is that                Undisputed that that is the only allegation in that
    Moving Defendants “[are] liable for the actions and           section that references Moving Defendants by
    omissions of Defendant Pitfield, as stated herein, in         name. There are, however, a number of specific
    his capacity as working a ‘special detail’ on ‘public         allegations about Moving Defendants in the 456
    assignment’ on the premises of the Westgate                   paragraphs prior to that section.
    Shopping Center, and acting in the course and
    scope of his employment or agency, at all relevant
    times herein.”

5   The Complaint contains no factual allegation that             Undisputed.
    Moving Defendants were directly negligent in any
    way.


6   Moving Defendants had no regular meetings with                Undisputed.
    the private security detail and had never had a
    discussion with Defendant Pitfield.


7   Moving Defendants did not require security to                 Disputed. Westgate required security to follow
    write any type of reports.                                    JPSO procedures while on-site,6 and JPSO
                                                                  procedures required security to write reports.7
    6
      Ex. D (Westgate Discovery Responses) at pg. 5 (“Utilize training and procedures provided by the
    Jefferson Parish Sheriff’s Office while on-site to serve and protect the patrons and tenants of Westgate
    Shopping Center.”)
    7
      Ex. E (Canatella Dep.) at 34:21-25 (“It's the detail officer's responsibility to write all necessary reports at
    his detail to include incidents in the parking lot which is owned by the business.”)

                                                            2
8    The only instruction Moving Defendants gave to the       Disputed. According to Westgate’s discovery
     private security detail was that they were to “have an   responses, the scope of work was to: “Be a
     officer present on the parking lot for specified         prescence [sic] on-site during peak hours. Answer
     periods of time to where they were protecting the        calls from tenants and respond if tenants have any
     patrons and the tenants of the Westgate Shopping         security issues. Utilize training and procedures
     Center.”                                                 provided by the Jefferson Parish Sheriff’s Office
                                                              while on-site to serve and protect the patrons and
                                                              tenants of Westgate Shopping Center.”8

                                                              Thus, the private detail had to do more than just be
                                                              present – they had to answer and respond to calls
                                                              from tenants.
9    Moving Defendants never received a security plan         Undisputed.
     or proposal from JPSO and Moving Defendants
     never developed a security plan themselves.


10   Apart from a cell phone, Moving Defendants’              Undisputed.
     private security detail used its own uniform,
     weapon, vehicle, and tools.


11   The policies and procedures which Defendant              Undisputed.
     Pitfield was supposed to follow in his role doing
     private detail work for customers were the policies
     and procedures he was trained on by JPSO.



12   Moving Defendants had no policies, rules, or             Disputed. Westgate gave the private detail officers
     regulations of any type with which the security          a cell phone and required them to “[a]nswer calls
     detail was required to comply.                           from tenants and respond if tenants have any
                                                              security issues.”9
13   As for location, Moving Defendants only instructed       Undisputed.
     its private security detail to patrol the property.


14   When called to the incident at issue, Defendant          Undisputed.
     Pitfield was not “under any general directive or
     protocol provided by Westgate,” was “at [his]
     discretion as a reserve deputy officer to respond to
     that incident,” and in that moment would follow his
     JPSO training.


     8
         Ex. D at 5.
     9
         Ex. D at 5.

                                                         3
15   Moving Defendants provided no training to its        Undisputed.
     security officers and Defendant Pitfield had no
     conversations with Moving Defendants following
     the incident at issue.


16   The methods used by the security officers were to    Undisputed.
     be the same methods they used as on-duty police
     officers.


17   Moving Defendants’ private security guards were      Undisputed.
     expected to use their professional judgment
     gathered from their experience as police officers.


18   E.P had been calm during the time that Defendant     Disputed. E.P. was calm at certain points, and not
     Pitfield was involved with his restraint.            calm at other points. According to Pitfield, E.P. bit
                                                          him in the leg. Ex. B at 121:16-17.

                                                          In its Answer, Westgate denied that E.P. was calm
                                                          when Pitfield was on top of him. Compare R. Doc.
                                                          1 at ¶ 168 (“In the moments before Vega switched
                                                          places with Pitfield, E.P. was ‘calm’ and
                                                          ‘everything was fine.’”) with R. Doc. 10 at pg. 3
                                                          (denying paragraph 168).


19   At the time Defendant Pitfield was replaced in the   Undisputed that E.P. was still breathing at that
     restraint of E.P., there was nothing about E.P’s     moment and did not need CPR in that moment.
     situation that caused Donna Lou concern for things
     like need for CPR, and Defendant Pitfield did not
     have E.P. in a chokehold.


20   When Defendant Pitfield was replaced in the          Undisputed that Daren Parsa indicated that in his
     restraint of E.P., Plaintiff Donna Lou was still     deposition.
     holding his hand and she wouldn’t be able to hold
     his hand unless E.P. was calm at that point.


21   There was no indication that E.P. was having         Disputed. E.P.’s actions during Pitfield’s restraint
     respiratory issues before Defendant Pitfield was     were indicative that he was having trouble
     replaced.                                            breathing. Plaintiffs’ expert Dr. Kris Sperry will
                                                          opine that while E.P. “made certain movements
                                                          while being restrained by Pitfield, it is my opinion
                                                          that these movements were not willful, active
                                                          resistance or efforts to harm the officers, but
                                                          behavioral manifestations of his autism and
                                                          evidence of oxygen deficiency which was resulting

                                                     4
        from his continuous and prolonged restraint.” Ex. F
        at 4 (emphasis added).

        Plaintiffs’ expert Jeff Noble will similarly opine
        that E.P.’s movements while Pitfield was on him
        were “likely being done to help the subject to
        breathe.” See Ex. G at ¶ 61(d).

        Furthermore, the prone restraint itself, especially
        combined with E.P. and Pitfield’s obesity, was
        indicative of risk of respiratory issues. See id. at ¶
        53 (“Here, there is overwhelming evidence that the
        members of the JPSO were trained in positional
        asphyxia and knew that maintaining an individual
        in a prone position could impact their ability to
        breathe.”); Ex. F at pg. 9 (“In an obese individual
        who is restrained in a prone position, the
        impairment of adequate respiratory oxygen and
        carbon dioxide exchange causes upward
        displacement of the obese abdomen against the
        diaphragm and thorax, such that inspiratory and
        expiratory excursion is diminished.”)




RESPECTFULLY SUBMITTED,

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